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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


JEFFERSON-PILOT INVESTMENTS, INC., a               )
North Carolina corporation,                        )
                                                   )
       Plaintiff,                                  )   Case No. 10-cv-07633
v.                                                 )
                                                   )   Judge Matthew F. Kennelly
CAPITAL FIRST REALTY, INC., an Illinois            )
corporation, SUNSET VILLAGE LIMITED                )
PARTNERSHIP, an Illinois limited partnership;      )
TCF NATIONAL BANK, a national banking              )
association; L H BLOCK ELECTRIC                    )
COMPANY, INC., an Illinois corporation,            )
DOHERTY, GIANNINI, REITZ                           )
CONSTRUCTION, INC., an Illinois corporation,       )
and EAGLE HEATING & COOLING INC., an               )
Illinois corporation, and LAYNE CHRISTENSEN )
COMPANY, a Delaware corporation; and               )
LAYNE-WESTERN, a division of Layne                 )
Christensen Company, a Delaware corporation,       )
                                                   )
         Defendants.                               )
_________________________________________ )
                                                   )
JEFFERSON-PILOT INVESTMENTS, INC., a               )
North Carolina corporation,                        )
                                                   )
       Counter-Defendant/Counter-Plaintiff,        )
                                                   )
v.                                                 )
                                                   )
THE KLARCHEK FAMILY TRUST, a Trust                 )
organized under the laws of the State of Illinois; )
JOHN COSTELLO, not individually but solely as )
Trustee of the Klarchek Family Trust; JOHN         )
LOGIUDICE, not individually but solely as          )
Trustee of the Klarchek Family Trust; WOLIN,       )
KELTER and ROSEN, LTD., an Illinois                )
corporation; BAUCH & MICHAELS, LLC, an             )
Illinois limited liability company; CAPITAL        )
FIRST REALTY, INC., an Illinois corporation;       )
CAPITAL HOME SERVICES CORP., an Illinois )
corporation; GILSON, LABUS & SILVERMAN,            )
LLC an Illinois limited liability company; JAY     )
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KLARCHEK, an individual, MICHAEL                       )
PASHAWITZ, an individual, and SUNSET                   )
VILLAGE LIMITED PARTNERSHIP, an Illinois               )
limited partnership;                                   )
                                                       )
        Third-Party Defendants.                        )
                                                       )


                                              ORDER

          Receiver, Steven S. Spinell, filed his Eighth Receiver Report [Docket #335] on

September 19, 2012, covering the time period of June 16, 2012 through August 15, 2012, and

requesting payment in the amount of $46,355.87 for Receiver fees and property management

services rendered in May, June, and July, 2012, and the amount of $44,380.99 for landscape and

maintenance fees, rendered in the same period by Receiver’s related entity Kinzie Real Estate

Group, LLC.      These amounts total $90,736.86.

          No objections were filed with respect to the Eighth Receiver Report;

          IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the Court approves

the Eighth Receiver Report and Receiver, Steven S. Spinell, is authorized to make payment to

himself out of Receivership funds for compensation and property management services in the

amount of $46,355.87 and to make payment to Kinzie Real Estate Group, LLC in the amount of

$44,380.99 for landscaping and maintenance fees for the period stated in the Eighth Receiver

Report.




Date:     Oct. 2, 2012
